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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



SECURITIES AND EXCHANGE
COMMISSION,

                  Plaintiff,

         v.                                             Civil Action No. 1:23-cv-01599

BINANCE HOLDINGS LIMITED, BAM
TRADING SERVICES INC., BAM
MANAGEMENT US HOLDINGS INC., AND
CHANGPENG ZHAO,

                  Defendants.


[PROPOSED] ORDER GRANTING INVESTOR CHOICE ADVOCATES NETWORK’S
        MOTION FOR LEAVE TO APPEAR AS AMICUS CURIAE AND
                    FILE AMICUS CURIAE BRIEF

       Before this Court is Investor Choice Advocates Network’s motion for leave to appear as

amicus curiae and to file an amicus curiae brief in support of Defendants in the above-captioned

action. The motion is granted. Investor Choice Advocates Network may appear in this action as

amicus curiae, and the amicus curiae brief that accompanied the motion shall be filed by the

clerk of court.

       IT IS SO ORDERED in Chambers on _______________, 2023.




                                            _______________________________
                                            Hon. Amy Berman Jackson
                                            US District Court Judge
